                          Case 1:23-mj-08389-PGL
2-6   5HYLVHG86'&0$          Document 1-2 Filed 11/14/23 Page 1 of 2
Criminal Case Cover Sheet                                                            U.S. District Court - District of Massachusetts

Place of Offense:                         Category No.      II                    Investigating Agency                FBI

City    Leominster                             5HODWHG&DVH,QIRUPDWLRQ
                                                6XSHUVHGLQJ,QG,QI                       &DVH1R
County       Worcester
                                                6DPH'HIHQGDQW                     1HZ'HIHQGDQW
                                                0DJLVWUDWH-XGJH&DVH1XPEHU
                                                6HDUFK:DUUDQW&DVH1XPEHU 23-8188-PGL; 23-8189-PGL; 23-8247-PGL, et al.
                                                55IURP'LVWULFWRI
Defendant Information:
                                                ,VWKLVFDVHUHODWHGWRDQH[LVWLQJFULPLQDODFWLRQSXUVXDQWWR5XOH
                                                 K ",I\HVFDVHQXPEHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                                                 <HV   ✔ 1R
'HIHQGDQW1DPH       Jose Mercado Aponte                                                                   -XYHQLOH          G <HV    ✔ 1R
                                      ,VWKLVSHUVRQDQDWWRUQH\DQGRUDPHPEHURIDQ\VWDWHIHGHUDOEDU                  G <HV    ✔ 1R
$OLDV1DPH
$GGUHVV             31 State Street, Leominster, MA

                      1993
%LUWKGDWH <URQO\ BBBBBB                9070
                               661 ODVW BBBBB          M
                                                        6H[BBBBBB              White
                                                                           5DFHBBBBBBBBBBBBBBB                        USA
                                                                                                           1DWLRQDOLW\BBBBBBBBBBBBBBBBBB

Defense Counsel if Nnown:         Leonard Milligan                               $GGUHVV

%DU1XPEHU

U.S. Attorney Information

$86$       J. Mackenzie Duane                                        %DU1XPEHULIDSSOLFDEOH

Interpreter:         ✔ <HV           1R                            /LVWODQJXDJHDQGRUGLDOHFW Spanish

Victims:            <HV     ✔ 1R        ,I\HVDUHWKHUHPXOWLSOHFULPHYLFWLPVXQGHU86& G                 G <HV     ✔
                                                                                                                                         1R

Matter to be SEALED:                  <HV       ✔ 1R
    :DUUDQW5HTXHVWHG                5HJXODU3URFHVV              ✔,Q&XVWRG\

/Rcation Status:

$rrest Date           11/13/2023

✔ $OUHDG\LQ)HGHUDO&XVWRG\DVRI         11/13/2023                                   LQ    State Police Millbury Barracks 

    $OUHDG\LQ6WDWH&XVWRG\DW                                                    6HUYLQJ6HQWHQFH                      $ZDLWLQJ7ULDO
    2Q3UHWULDO5HOHDVH    2UGHUHGE\                                                RQ

Charging Document:                  ✔ &RPSODLQW                G ,QIRUPDWLRQ                              ,QGLFWPHQW

Total # of Counts:                  G 3HWW\                    G 0LVGHPHDQRU                           ✔ )HORQ\ 1

                                        &RQWLQXHRQ3DJHIRU(QWU\RI86&&LWDWLRQV

✔        I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
         accurately set forth above.

'DWH 11/14/2023                            6LJQDWXUHRI$86$
                         Case 1:23-mj-08389-PGL Document 1-2 Filed 11/14/23 Page 2 of 2
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District Court Case Number 7REHILOOHGLQE\GHSXW\FOHUN 
Name of Defendant               Jose Mercado Aponte
                                                                         U.S.C. Citations
                 Index Key/Code                                    Description of Offense Charged            Count Numbers

6HW
          21 U.S.C. § 846                              Conspiracy to Possess with Intent to Distribute   1
6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW


6HW

 $'',7,21$/,1)250$7,21




86$0$&5,0&ULPLQDO&DVH&RYHU6KHHWSGI
